          Case 4:14-cv-00303-JM Document 66 Filed 02/16/16 Page 1 of 2



           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    WESTERN DIVISION
FREDA TAYLOR                                                              PLAINTIFF

   v.                           CASE NO: 4:14CV00303-JM

ASSOCIATION OF ARKANSAS COUNTIES                                       DEFENDANT

 MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION FOR
                  SUMMARY JUDGMENT

        Comes now the Plaintiff and moves the court for an extension of time to

respond to the motion for summary judgment and states:

        1. That plaintiff’s response to the motion for summary judgment is due

           today at 5:00 p.m.

        2. During the process of scanning the voluminous exhibits, to be filed

           electronically with the response, undersigned counsel is experiencing

           difficulties with her computer.

        3. While she is in the process of trying to rectify her computer malfunction,

           she is compelled to ask for a brief extension in an abundance of caution.

        4. Thus counsel requests that the deadline for her response to summary

           judgment be extended to February 17, 2016.

        5. That this is good cause.

        6. This motion is not made for the purpose of delay but is in the best interest

of justice.


                                             1
          Case 4:14-cv-00303-JM Document 66 Filed 02/16/16 Page 2 of 2



       7. In light of the foregoing, plaintiff requests an extension.

       WHEREFORE the Plaintiff prays that the extension be granted until

February 17, 2016 and for all other proper and just relief.


                                             Respectfully submitted,

                                             /s/Teresa Bloodman# 2005055
                                             Attorney for Plaintiff
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                                             teresabloodman@yahoo.com


                                      CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 16 day of February 2016, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF System, which will send notification of
such filing to all CM/ECF participating counsel of record:

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